


 
   *310
   
  *EEIGH, J.,
 

  delivered the opinion of the Court.
 

  The Court is of opinion and doth decide, first, that so much of the 6th section of the' act for the effectual suppression of vice and punishing the disturbers of religious worship and Sabbath breakers, 1 Rev. Code, p. 555, as makes the oath of two credible witnesses necessary to a conviction in cases of adultery and fornication, is repealed by the 2d section of the 27th chapter of the Criminal Code, Sess. Acts 1847-48, page 164. And secondly, that judgment ought to be rendered on the special verdict in favour of the Commonwealth for the fine assessed by the jury. Which is ordered to be certified, &amp;c. _
 
